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                                         #:32492




                  UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                  OFFICE OF THE CLERK OF COURT


To:       Chief Deputy/Fiscal

Re:       Verification of Surrender to Bureau of Prisons or Report to United States
          Probation

          Case Number:   2:20−cr−00326−JFW
          Defendant’s Name:  Jose Luis Huizar

The above−named defendant was ordered to self−surrender to begin serving their sentence
of imprisonment on      10/7/2024 . The bond may be exonerated pending the verification
as to whether the defendant is being electronically monitored by the U.S. Probation Office;
confined to the custody of the Bureau of Prisons; or completed their jail time.

As of :    10/18/2024    , it was verified the defendant:

   has surrendered to the Bureau of Prisons    .



Verified via Bureau of Prisons website.




 October 18, 2024                             By        /s/ Ingrid Valdes
 Date                                              Deputy Clerk




 CR−86 (11/08)                   VERIFICATION OF SURRENDER
